                     Case 7:23-mj-03028-UA          Document 27        Filed 07/02/24    Page 1 of 1
                                                                                                         Southern District
Federal Defenders                                                                                81 Main Street, Suite 300
                                                                                                  White Plains, NY 10007
OF NEW YORK, INC.                                                                 Tel: (914) 428-7124 Fax: (914) 948-5109

Tamara Giwa                                                                                          Jennifer L. Brown
Executive Director                                                                                    Attorney-in-Charge

                                                              APPLICATION GRANTED.
                                                              Dated: July 2, 2024

                                                                                July 2, 2024


         The Hon. Andrew E. Krause
         United States Magistrate Judge
         United States Courthouse
         300 Quarropas St.
         White Plains, NY 10601

                     Re: United States v. Jayleen Mota, Case No. 23-mj-3028

         Dear Judge Krause,

         I am writing to request that the Court permit Pretrial Services to release Ms. Mota’s passport to
         her so that she can travel to the Dominican Republic on her already-approved family trip.

         By way of background, Ms. Mota was arrested on April 17, 2023, on one count of transmitting
         threats in interstate commerce, in violation of 18 U.S.C. § 875(c). That same day, the Court
         released Ms. Mota on an agreed-upon bail package. Ms. Mota complied with all pretrial conditions.
         On February 27, 2024, Ms. Mota and the government entered into a deferred prosecution
         agreement. The same conditions of release continued.

         On June 28, this Court, the Honorable Judith C. McCarthy presiding, endorsed an unopposed
         request for Ms. Mota to travel to the Dominican Republic for her younger sister’s birthday
         celebration. Doc. No. 25. The two-week trip is supposed to commence on or about July 6, 2024.

         Yesterday, Pretrial Services Officer Laura Gialanella graciously reminded the undersigned that
         Ms. Mota’s passport is still in Pretrial’s possession. Thus, with this letter, Ms. Mota requests that
         her passport be released into her possession today (or as soon as possible) so that Ms. Mota may
         travel to the Dominican Republic as planned. Per Officer Gialanella’s suggestion, Ms. Mota is
         required to return her passport to Pretrial Services within 48 hours of her return to the United
         States.

         I have discussed this request with AUSA Timothy Ly. He has no objection. Thank you for your
         consideration of this request.

                                                          Sincerely,


                                                          Rachel Martin
                                                          Assistant Federal Defender

         cc:         AUSA Timothy Ly
                     U.S. Pretrial Services Officer Laura Gialanella
